                    IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

In Re:                                           ) CASE NO. 17-14920
                                                 )
RICHARD McKAY OSBORNE, JR.                       ) CHAPTER 7 PROCEEDINGS
TRICIA A. OSBORNE                                )
      Debtor(s)                                  ) JUDGE ARTHUR I. HARRIS
                                                 )

               NOTICE OF APPEARANCE and REQUEST FOR NOTICES


         Now comes Adam S. Baker, attorney for Maple Valley Estates, LLC, a creditor in

the instant case, and hereby enters his appearance as attorney of record for said

creditor and directs this Honorable Court to direct any future communications, court

notices to:

                                     Adam S. Baker, Esq.
                            Attorney for Maple Valley Estates, LLC
                                 55 Public Square, Suite 1330
                                    Cleveland, Ohio 44113
                           (216) 771-3966 Fax No. (216) 771-4124
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                                                 Respectfully submitted,


                                                 /s/ Adam S. Baker
                                                 ADAM S. BAKER (0069000)
                                                 Attorney for Maple Valley Estates, LLC
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                              CERTIFICATE OF SERVICE

        I certify that a true and correct copy of this Notice of Appearance was served, via
the court’s Electronic Case Filing System on these entities and individuals who are
listed on the court’s Electronic Mail Notice List, on this 8TH day of January, 2018.

      Michael David Allen michael.allen@ohioattorneygeneral.gov
      Patricia L. Johnson bankruptcies@gernerlaw.com
      Stuart A. Laven slaven@cavitch.com
      Heather L. Moseman heather@mosemanlaw.com, admin@mosemanlaw.com
      David O. Simon, Trustee david@simonlpa.com,
       dosimon@ecf.epiqsystems.com
      United States Trustee (Registered address)@usdoj.gov



                                                 /s/ Adam S. Baker
                                                 ADAM S. BAKER (0069000)
                                                 Attorney for Maple Valley Estates, LLC




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